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     Nos. 24-3449, 24-3450, 24-3497, 24-3508 (and cases to be consolidated)


          In the United States Court of Appeals
                  for the Sixth Circuit
                     OHIO TELECOM ASSOCIATION, ET AL.,
                                      Petitioners,
                                       v.
    FEDERAL COMMUNICATIONS COMMISSION; UNITED STATES OF AMERICA,
                                   Respondents.

                        On Petition for Review from the
                     Federal Communications Commission
                      (WC Docket No. 23-320, FCC 24-52)

    JOINT MOTION FOR STAY OF OHIO TELECOM ASSOCIATION,
    USTELECOM – THE BROADBAND ASSOCIATION, OHIO CABLE
 TELECOMMUNICATIONS ASSOCIATION, NCTA – THE INTERNET &
 TELEVISION ASSOCIATION, CTIA – THE WIRELESS ASSOCIATION,
  WIRELESS INTERNET SERVICE PROVIDERS ASSOCIATION, ACA
CONNECTS – AMERICA’S COMMUNICATIONS ASSOCIATION, FLORIDA
  INTERNET & TELEVISION ASSOCIATION, MCTA – THE MISSOURI
    INTERNET & TELEVISION ASSOCIATION, AND TEXAS CABLE
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              CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Sixth Circuit

Rule 26.1, movants make the following disclosures:

     ACA Connects – America’s Communications Association has no parent

company, and no publicly held corporation owns 10% or more of its stock.

     CTIA – The Wireless Association has no parent company, and no

publicly held corporation owns 10% or more of its stock.

     Florida Internet & Television Association has no parent company, and

no publicly held corporation owns 10% or more of its stock.

     MCTA – The Missouri Internet & Television Association has no parent

company, and no publicly held corporation owns 10% or more of its stock.

     NCTA – The Internet & Television Association has no parent company,

and no publicly held corporation owns 10% or more of its stock.

     Ohio Cable Telecommunications Association has no parent company,

and no publicly held corporation owns 10% or more of its stock.

     The Ohio Telecom Association has no parent company, and no publicly

held corporation owns 10% or more of its stock.

     Texas Cable Association has no parent company, and no publicly held

corporation owns 10% or more of its stock.


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         USTelecom – The Broadband Association has no parent company, and

no publicly held corporation owns 10% or more of its stock.

         WISPA – The Association For Broadband Without Boundaries has no

parent company, and no publicly held corporation owns 10% or more of its

stock.




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                               INTRODUCTION

        In its “Open Internet” Order, the Federal Communications Commission

has asserted total authority over how Americans access the Internet. That is

not hyperbole. The Commission claims the power to regulate Internet service

providers, or ISPs, as common carriers under the 90-year-old regime built for

the old Ma Bell telephone monopoly.         That regime, called “Title II” as

shorthand for Title II of the Communications Act of 1934, includes the power

to set prices, dictate terms and conditions, require or prohibit investment or

divestment, and more. As the dissenting Commissioners explained, the Order

subjects ISPs to “one of the most comprehensive suites of regulatory authority

known to any agency in this country,” Simington Dissent, App. 508-509, and

covers “virtually every aspect of how an ISP does business,” Carr Dissent,

App. 484.

        The Order is only the latest jolt in a decade of regulatory whiplash for

ISPs.     After nearly 20 years of applying a light-touch approach to the

Internet—an approach the Supreme Court blessed in National Cable &

Telecomm. Ass’n v. Brand X Internet Servs., 545 U.S. 967 (2005)—the

Commission reversed course in 2015. For the first time, it asserted plenary

authority to regulate high-speed Internet access service (called “broadband”)
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under Title II, and used that authority to impose so-called “net neutrality”

rules.    Before the Supreme Court could weigh in, a new Administration

reverted to the traditional light-touch approach. Now, after another change

in Administration, the Commission is back to a heavy hand, promising to make

even more aggressive use of its claimed powers.

         This Court should stay the Commission’s latest flip-flop pending judicial

review. Petitioners are overwhelmingly likely to succeed on the merits.1

Under the major-questions doctrine, a “decision of such magnitude and

consequences” as public-utility-style regulation of the Internet “rests with

Congress itself, or an agency acting pursuant to a clear delegation.” West

Virginia v. EPA, 597 U.S. 697, 735 (2022). It should be “indisputable” that the

major-questions doctrine applies here. U.S. Telecom Ass’n v. FCC, 855 F.3d

381, 422 (D.C. Cir. 2017) (Kavanaugh, J., dissenting from denial of rehearing

en banc). And because the Commission cannot point to clear congressional

authorization for applying common-carrier regulation to the Internet, the

Order is unlawful. Indeed, the Order fails even an ordinary plain-text analysis

of the Telecommunications Act of 1996.



   1
       Some of the movants filed petitions for review that are pending transfer
to this Court pursuant to the multi-circuit lottery.


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      The Order’s consequences are as stark as its legal shortcomings. Far

more than in the typical administrative challenge, we know that the Order will

impose significant, unrecoverable costs on petitioners’ members. That is

exactly what happened from 2015 to 2017, when the Commission last claimed

plenary authority over Internet access under Title II. Just like last time, the

Order will force ISPs to incur atypical compliance costs, delay or forgo

services and expansions, pay more to raise money, and negotiate on worse

terms.

      The public interest also favors a stay. When the Commission repealed

the 2015 “net neutrality” rules, opponents predicted the end of the Internet as

we know it. That did not happen. See Carr Dissent, App. 479. So this time,

the Commission defends the Order as prophylaxis: it could not “wait for the

flood to arrive before we start to build the levee.” Gomez Statement, App. 511.

That vague concern cannot justify diminishing investment in broadband and

saddling a critical sector of the economy with sweeping new costs, while a

flawed Order awaits judicial review.

      The Order’s effective date is July 22; petitioners respectfully request a

ruling on this motion by July 15. If the Court cannot rule by then, petitioners




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request an administrative stay.       At the very least, petitioners request

expedited briefing and argument.

                               BACKGROUND

      1.    Congress passed the Telecommunications Act of 1996 “to promote

competition and reduce regulation” in the communications industry. Pub. L.

No. 104-104, 110 Stat. 56.      The Act established two mutually exclusive

categories of interstate communications services: “information service[s],”

which are subject to limited oversight, and “telecommunications service[s],”

which are subject to the onerous common-carrier regulations found in Title II.

47 U.S.C. § 153(24), (53).     Title II gives the Commission near-plenary

authority to require preapproval for new services, dictate where providers can

deploy their services, and even regulate prices based on the Commission’s

view of what is “just and reasonable.” See, e.g., id. §§ 201(b), 202, 214.

      The 1996 Act defines “telecommunications service” as “the offering of

telecommunications for a fee directly to the public.” 47 U.S.C. § 153(53).

“Telecommunications” means “transmission, between or among points

specified by the user, of information of the user’s choosing, without change in

the form or content.” Id. § 153(50). An “information service,” by contrast, is

“the offering of a capability for generating, acquiring, storing, transforming,



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processing, retrieving, utilizing, or making available information via

telecommunications.”       Id. § 153(24).       In a nutshell, a telecommunications

service offers pure data transmission, like a dumb pipe; an information service

offers the capability to process, store, and manipulate information.

      2.    For nearly the entire history of the Internet, the Commission has

recognized that services providing Internet access are “information services.”

In a report issued shortly after the 1996 Act, the Commission explained that

the key statutory question was “whether Internet access providers merely

offer transmission” of data, like a telephone service. Federal-State Joint

Board on Universal Service, 13 FCC Rcd. 11501, 11536 (1998).                    The

Commission easily answered no. It explained that “Internet access” does not

“merely offer transmission” of data but “gives users a variety of advanced

capabilities” to manipulate information. Id. at 11536-11539.

      A few years later, the Commission confirmed that cable broadband is an

information service.   See Inquiry Concerning High-Speed Access to the

Internet Over Cable and Other Facilities, 17 FCC Rcd. 4798, 4802 (2002). The

Supreme Court upheld that classification in Brand X, 545 U.S. 967. The

Commission likewise found that other forms of broadband are information




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services, and treated them accordingly for the next decade. See Carr Dissent,

App. 447.

     In 2015, the Commission reversed course, reclassifying broadband as a

telecommunications service subject to Title II utility regulation.        See

Protecting and Promoting the Open Internet, 30 FCC Rcd. 5601, 5647-5658

(2015). As it does today, the Commission claimed that it needed Title II to

promulgate “net neutrality” rules—that is, rules forbidding ISPs from

blocking content, slowing access to content, or allowing content providers to

pay for preferential treatment. See id. at 5626-5645. A divided panel of the

D.C. Circuit upheld the order, deferring to it under Chevron as a reasonable

construction of an ambiguous statute.       See U.S. Telecom Ass’n v. FCC,

825 F.3d 674, 704-706 (2016). Then-Judge Kavanaugh dissented from the

denial of rehearing en banc. In his view, the rule triggered—and flunked—

the major-questions doctrine. 855 F.3d 381, 417-418 (2017).

     While a petition for Supreme Court review was pending, the

Commission restored broadband’s information-service classification and

accompanying light-touch regulatory framework.          See Restoring Internet

Freedom, 33 FCC Rcd. 311, 312 (2018) (RIF Order). The D.C. Circuit largely




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upheld that order, too, under the same Chevron framework. See Mozilla Corp.

v. FCC, 940 F.3d 1, 35 (2019).

      At the time, opponents lamented “the end of the Internet as we know it,”

and speculated that without “net neutrality” rules, ISPs would interfere with

online content in harmful ways. Carr Dissent, App. 452. But the past six years

disproved those claims. See NCTA et al. Letter, App. 1585-1587. Meanwhile,

investment in broadband has flourished. See NCTA Comments, App. 912-917;

Israel Decl., ¶¶ 27-28, 31-35, 61-62, App. 943-944, 947-951, 962-963; USTelecom

Comments, App. 1141-1150; CTIA Comments, App. 657-669.

      3.    Now, after another change in Administration, the Commission has

reversed itself again. In the challenged Order, the Commission voted 3-2 to

classify broadband as a telecommunications service subject to Title II.

Safeguarding and Securing the Open Internet, Docket Nos. 23-320 & 17-108,

FCC 24-52 (released May 7, 2024), App. 1-512.

      Invoking the same debunked rationales from 2015, the Commission

revived its previous “net neutrality” rules, which ban ISPs from blocking,

throttling, or paid prioritization. Order ¶ 492. The Commission also readopted

a general conduct standard prohibiting practices “that unreasonably interfere

with the ability of consumers or [content providers] to select, access, and use”



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broadband. Id. ¶ 513. In contrast to 2015, the Order further claims—for the

first time—that Title II is necessary for reasons unrelated to “net neutrality,”

such as defending national security and combatting cybersecurity threats. Id.

¶¶ 30, 42. The Order thus sets out a laundry list of new areas in which the

Commission intends to regulate using its claimed Title II powers. Id. ¶¶ 26-

105.

       For now, the Commission has also forborne from—that is, declared it

will not enforce—many Title II powers. Order ¶ 383; see 47 U.S.C. § 160. Of

course, this Commission or a future one may attempt to reactivate those

powers at any time. And although the Order forbears from the power to

directly set ISPs’ rates, it admits that the Commission can indirectly regulate

prices under the general conduct standard. See Order ¶ 368.

       4.    On May 31, petitioners sought a stay from the Commission. See

Fed. R. App. P. 18(a)(1). On June 7, the Commission denied relief.

                                 ARGUMENT

       After years of light-touch regulation of the Internet, across

Administrations of both parties, the Commission under President Obama

claimed a broad new Title II authority over the Internet. Litigation ensued,

but before it could be resolved, the Commission under President Trump



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reverted to its original position. Now, in the Order challenged here, the

Commission under President Biden has flipped back to Title II.             This

destabilizing pattern is untenable for a critical American industry. The Order

should be stayed until courts can confirm, once and for all, that Congress never

contemplated common-carrier regulation for broadband.

      Petitioners readily satisfy the stay criteria. They are likely to succeed

on the merits, their members will be irreparably injured if the Order takes

effect, and the public interest favors the status quo over yet another agency

change in position. At a minimum, the Court should expedite briefing and

argument to ensure prompt resolution of this case.

I.    PETITIONERS ARE LIKELY TO PREVAIL ON THE MERITS.

      Under “any conceivable test for what makes a rule major,” this one

qualifies. U.S. Telecom, 855 F.3d at 423 (Kavanaugh, J., dissenting); see

Donald B. Verrilli, Jr. & Ian Heath Gershengorn, Title II “Net Neutrality”

Broadband Rules Would Breach Major Questions Doctrine, 76 Fed.

Commc’ns L.J. 321, 330 (2024) (“no doubt” that the Order triggers the major-

questions doctrine). When an agency asserts such a power, it must identify

“clear congressional authorization.” West Virginia, 597 U.S. at 723 (quoting




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Utility Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)). The Commission

does not have it.

      A.      Reclassifying Broadband Under Title II Is A Major Question.

      The Order is “major” across several dimensions. It is economically and

politically significant, it reverses the agency’s original and longstanding

interpretation, and it invokes policy concerns beyond the Commission’s

expertise.

      1.      Subjecting broadband to Title II would “bring about an enormous

and transformative expansion” in the Commission’s “regulatory authority.”

Utility Air, 573 U.S. at 324. Under the longstanding light-touch regime, ISPs

make business decisions in response to market forces. Under Title II, by

contrast, the Commission has plenary authority over nearly every aspect of

Internet access—including the power to dictate “just and reasonable” prices,

47 U.S.C. §§ 201, 202; to order ISPs to deploy new infrastructure, id. § 214;

and to require preclearance for services, id. §§ 201, 214.           Although the

Commission emphasizes that it has thus far forborne from exercising some of

these authorities, Order ¶ 257, the major-questions doctrine asks about the full

implications of the power claimed, not how the agency has acted to date. West

Virginia, 597 U.S. at 728-729.



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      The “economic and political significance” of the Commission’s claimed

authority “is staggering by any measure.” Biden v. Nebraska, 143 S. Ct. 2355,

2373 (2023) (citation omitted).   The broadband industry generates about

$150 billion in annual revenue. See U.S. Chamber Comments, App. 1156-1157.

One recent study found that even the “prospect of Title II policy reduced

investment” in that industry by $8 billion annually from 2011 to 2020, with a

$145-billion annual impact on GDP. Ford Paper, App. 800-801; see Israel Decl.

¶¶ 20-22, App. 939-940. And the significance of Internet access to Americans

and American businesses far exceeds any price tag. As the Commission

declared, broadband is “indispensable to every aspect of our daily lives, from

work, education, and healthcare, to commerce, community, communication,

and free expression.” Order ¶ 1. There can be no “serious dispute that [the

Commission] claims the authority to exercise control over a significant

portion”—indeed, one of the most significant portions—“of the American

economy.”    Biden, 143 S. Ct. at 2373 (citation omitted); see Verrilli &

Gershengorn, supra, at 330-331.

      Politically, the Commission’s authority has “been the subject of an

earnest and profound debate across the country.” West Virginia, 597 U.S. at

732. The Commission’s position now flips—each time to great fanfare—



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whenever it changes political control.       Meanwhile, “Congress has been

studying and debating net neutrality regulation for years,” and “considered

(but never passed) a variety of bills relating to net neutrality and the

imposition of common-carrier regulations on Internet service providers.”

U.S. Telecom, 855 F.3d at 423 (Kavanaugh, J., dissenting); see USTelecom

Comments, App. 1136-1137 (cataloging rejected bills).

      2.    Other “telltale sign[s]” confirm that the decision to regulate

broadband providers as common carriers implicates a major question. Biden,

143 S. Ct. at 2382 (Barrett, J., concurring). First, the Commission’s own

“post-enactment conduct” is “particularly probative.” Id. at 2383; see West

Virginia, 597 U.S. at 724-725.     Just two years after the 1996 Act, the

Commission concluded that “Internet access services are appropriately

classed as information, rather than telecommunications, services.” Federal-

State Joint Board on Universal Service ¶ 73.           That conclusion tracked

regulatory distinctions that predated the 1996 Act, and it held for nearly two

decades.

      3.    The Order also strays into areas outside the Commission’s

“comparative expertise.” West Virginia, 597 U.S. 729-730. For example, the

Commission contends that it needs Title II to address “national security risks”



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from the Chinese government. Order ¶¶ 4, 33. “There is little reason to think

Congress assigned such decisions” to the Commission, West Virginia, 597 U.S.

at 729, which has no “historical familiarity [or] policymaking expertise” in

addressing threats from geopolitical rivals. Gonzales v. Oregon, 546 U.S. 243,

266 (2006); see CTIA Comments, App. 674-679. Indeed, bipartisan experts

have confirmed that the Commission’s concerns are better left to national-

security experts. Grotto Paper, App. 1544-1547, 1551-1553; Scott Comments,

App. 1423-1424.

      B.    The Commission Lacks Clear Congressional Authorization.

      The 1996 Act does not provide clear congressional authorization for the

Order. The Supreme Court in Brand X held that it is at least permissible to

classify Internet access as an “information service.” 545 U.S. at 1000. The

D.C. Circuit reached the same conclusion in Mozilla. 940 F.3d at 23. Such

“finding[s] of ambiguity” “by definition mean[] that Congress has not clearly

authorized the FCC” to treat broadband providers as common carriers. U.S.

Telecom, 855 F.3d at 426 (Kavanaugh, J., dissenting). And even putting aside

the major-questions doctrine, the better reading of the text, structure, and

nearby statutory provisions is that broadband is an “information service.”




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              1.    The plain text makes broadband an “information
                    service.”

      The statutory “definition of ‘information service’ fits broadband Internet

access like a glove.” U.S. Telecom, 855 F.3d at 395 (Brown, J., dissenting from

denial of rehearing en banc). That is true both because broadband offers the

capability for users to manipulate information online, and because broadband

itself includes necessary components that process and manipulate

information.

      a.      First, broadband provides users with the capability to engage with

information on websites and applications. It is thus an “offering of [the]

capability” to do all of the actions set forth in the statutory definition:

“generating” and “making available information” by posting on social media;

“acquiring” or “retrieving” information from websites; “storing” information

online; and “transforming,” “processing,” and “utilizing” information in

limitless ways, from editing photos to playing video games. See 47 U.S.C.

§ 153(24).

      Brand X confirms that conclusion. There, the Supreme Court upheld

the Commission’s classification of cable broadband as an “information

service,” explaining that “Internet service” “provides consumers with a

comprehensive capability for manipulating information,” “enabl[ing] users, for


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example, to browse the World Wide Web, to transfer files,” “and to access

e-mail.” 545 U.S. at 987. Even the dissent did not dispute that point. See id.

at 1009. The dissent disagreed only with the majority’s conclusion that cable

providers’ additional provision of transmission services could not be

disentangled from their information-services offering. Id.

      The Commission wrongly contends that broadband is nothing more than

a “telecommunications service”—that is, “the offering of” pure data

transmission. 47 U.S.C. §§ 153(50), (53). To be sure, broadband includes the

transmission of data between computers.          But ISPs do not “offer” pure

transmission, as Brand X interpreted that term. In “common usage,” “what a

company ‘offers’ to a consumer” turns on “what the consumer perceives” she

is buying. Brand X, 545 U.S. at 990. And consumers who buy broadband

purchase the capability to post on social media or store photos in the cloud, not

to send IP data packets to and from servers. If that were not common sense,

multiple surveys confirm that the vast majority of consumers (80-90%)

perceive broadband as providing such information-service capabilities.

USTelecom Letter, App. 1588.

      b.    Second, even under the Commission’s strained reading of the text,

broadband is still an “information service” because broadband itself has



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information-service capabilities. One key example is Domain Name System

(DNS) service, which uses computer processing to translate the name of a

website into the relevant IP address for each user, sparing users from

inputting a long series of digits for each website they visit.            Brand X

recognized that DNS involves information processing that fits the definition of

“information service,” and that “part of the information service cable

companies provide[d] [was] access to DNS service.” 545 U.S. at 999. That

remains true today: 92% of broadband subscribers use the pre-configured

DNS service that comes with their provider’s broadband service. See Recon

Analytics Paper, App. 1561. The typical user thus perceives the broadband

“offering” to include the information-processing capabilities of DNS, without

which the included transmission capability would be useless. See Carr Dissent,

App. 465-466.

      Another example is caching, which “work[s] hand-in-hand with the ISP’s

DNS servers.” Rysavy Decl. ¶ 18, App. 773. Caching involves storing popular

content on local servers so consumers are able to access that content more

quickly.   See CTIA Comments, App. 700-703.          Brand X recognized that

caching, like DNS, is part of “the Internet service provided by cable




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companies.” 545 U.S. at 999. That remains true of broadband today. See

Rysavy Decl. ¶¶ 17-21, App. 773-775.

             2.    The statutory structure confirms that broadband must
                   be an “information service.”

       Treating broadband as a “telecommunications service” subject to

Title II also conflicts with the broader statutory structure.              Indeed,

reclassification makes a mess of the statute, requiring the Commission both to

forbear from applying much of Title II and to twist in knots to address mobile

broadband.

       a.    The first clear sign that reclassification is incompatible with the

statutory structure is the Commission’s broad forbearance. As in 2015, the

Commission has declined to apply to broadband over a quarter of Title II’s

provisions and hundreds of regulations. It had no real choice: many of those

provisions are, “at most, tangentially related” to the provision of broadband

and would not make any sense as applied to broadband. Order ¶¶ 425, 427.2

The need to forbear from so much of the common-carrier regime strongly

suggests that the Commission “ha[s] taken a wrong interpretive turn.” Utility

Air, 573 U.S. at 328; see Carr Dissent, App. 470-472.


   2
        See, e.g., 47 U.S.C. § 273(c) (protocols for “telephone exchange service
facilities”); id. § 227(e) (caller ID); id. § 228 (pay-per-call services).


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      b.     The Commission’s treatment of mobile broadband is even more

convoluted. Mobile broadband, which is a subset of broadband, is also subject

to a separate statutory regime that limits Title II to “commercial mobile

service[s].” See 47 U.S.C. § 332(c)(1)-(2), (d). As a result, once the Commission

reclassified broadband as a “telecommunications service,” it also had to

reclassify mobile broadband as a “commercial mobile service.” See Order

¶¶ 214-236. But that separate statutory move, which the Commission admits

is necessary to avoid a “statutory contradiction,” Order ¶ 230, does not work

and is itself unlawful. See CTIA Comments, App. 715-724.

      Mobile broadband does not fit the definition of a “commercial mobile

service.”    A “commercial mobile service” is a mobile service “that is

interconnected with the public switched network.” 47 U.S.C. §§ 332(d)(1), (2).

“The public switched network,” in turn, is a term of art that refers to the

10-digit telephone network. See H.R. Rep. No. 103-213, at 495-496 (1993)

(Conf. Rep.); RIF Order, 33 FCC Rcd. at 355 (citing six Commission orders

using the term that way). Mobile broadband is not “interconnected with” the

10-digit telephone network.     Instead, it interconnects users of a distinct

network: the Internet, which uses IP addresses, not phone numbers. See

47 U.S.C. § 1422(b)(1) (distinguishing the “public switched network” from the



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“public Internet”). That is why one cannot reach www.supremecourt.gov with

a phone number, or call a smart TV using a landline telephone. This statutory

mismatch underscores that jamming broadband into Title II does violence to

Congress’s entire statutory scheme.

            3.      Other statutory provisions confirm that broadband is an
                    “information service.”

      Finally, both the 1996 Act and contemporaneous statutes confirm that

Congress conceived of Internet access service as an information service. For

example, elsewhere in the 1996 Act, Congress defined the term “interactive

computer service” to include “any information service . . . that provides access

to the Internet.”    47 U.S.C. § 230(f)(2) (emphasis added).       And in 1998,

Congress reaffirmed its understanding that an “internet access service” “does

not include telecommunications services.” Id. § 231(e)(4). It is implausible

that Congress would have used the same term differently here.

II.   THE EQUITIES SUPPORT A STAY.

      A.    The Commission’s Order Will Cause Irreparable Harm.

      If the Order is allowed to take effect, petitioners’ members will

imminently incur prohibitive compliance costs, delay or forgo new services and

expansions, pay more to obtain capital, and negotiate interconnection

agreements at a disadvantage. There is no need to speculate: petitioners’



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members know all too well the harms they suffered after the Commission’s

last experiment with Title II. Because “economic injuries caused by federal

agency action are generally unrecoverable,” each of these injuries constitutes

“irreparable harm.” Ohio v. Becerra, 87 F.4th 759, 782-783 (6th Cir. 2023)

(citation omitted).

            1.    Petitioners’ members will incur atypical and non-
                  recoverable compliance costs.

      If the Order goes into effect, petitioners’ members will immediately

begin to suffer irreparable harm in the form of compliance costs that are

qualitatively and quantitatively unusual. See Kentucky v. Biden, 57 F.4th 545,

556 (6th Cir. 2023) (recognizing “unrecoverable compliance costs” as

irreparable injury).

      These costs stem from the Order’s wide-ranging, indeterminate rules.

See Chamber of Com. v. SEC, 85 F.4th 760, 778 (5th Cir. 2023) (finding that

rule would impose heightened compliance costs because “its requirements are

clear as mud”).       Most significantly, on top of Title II’s prohibitions on

“discrimination” and “unjust or unreasonable” business practices, 47 U.S.C.

§§ 201, 202, the Order imposes the vague general conduct standard. See

supra, pp. 7-8. The Commission promises to apply that standard using a

“non-exhaustive list of factors” under a “case-by-case” approach that even it


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characterizes as “difficult to predict.” Order ¶¶ 513, 517. In addition to

Commission investigations, id. ¶ 581, the Order invites a flood of public

complaints, to be handled under burdensome procedures, id. ¶¶ 589-590. It

even authorizes private actions for injunctive relief and damages. Id. ¶ 330.

      In response, and as experience with the 2015 Order showed, ISPs will

need to spend considerable resources both preemptively assessing business

practices for compliance and defending against investigations and complaints.

See Morris Decl. ¶¶ 5-10, 22-27, App. 1631-1633, 1639-1643; Power Decl. ¶¶ 10,

19-23, App. 1653, 1659-1662. One provider’s outside-counsel costs related to

compliance with the 2015 Order totaled $2.5 million, more than 20 times the

usual amount for new FCC regulations. Buono Decl. ¶¶ 6-16, App. 1600-1603.

Another provider was forced to assemble an “unprecedented” 20-person in-

house team. Heimann Decl. ¶¶ 10-20, App. 1612-1616. For smaller ISPs with

more limited resources, these costs will be particularly burdensome. See, e.g.,

Luthman Decl. ¶¶ 6-8, App. 1623-1625 (Order will “double Imagine’s legal

budget”); Sjoberg Decl. ¶ 11, App. 612 (noting “disproportionate” burden).

            2.    Petitioners’ members will be forced to delay or forgo new
                  offerings and expansion plans.

      The same enforcement risks will also cause ISPs to delay or forgo

potential new offerings and expansions. See Morris Decl. ¶¶ 4, 11-16, 26, App.


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1631, 1633-1637, 1642 (“Charter and Cox will have to reconsider whether to

roll out new and innovative offerings,” such as higher speeds for popular

events like Thursday Night Football, as will “Midco and Mediacom, two mid-

sized cable operators”); Heimann Decl. ¶¶ 7, 23, 26-28, App. 1611-1612, 1617-

1620 (discussing uncertainty about Order’s application to 5G-related

technologies); Power Decl. ¶¶ 7-12, App. 1651-1655 (CTIA members will

reassess the use of “network slicing,” a next-generation 5G technology).

Again, that is precisely what happened in 2015. See, e.g., Buono Decl. ¶¶ 18-

20, App. 1604-1605 (describing “18-month delay” in launching Comcast’s

“Stream TV” product); Stooke Decl. ¶ 8, App. 1668 (noting that planned

acquisition fell through “due to the legal uncertainty” from the 2015 Order).

      This new constraint on ISPs’ ability to innovate and expand will cause

“irreparable losses in customers, goodwill, and revenue.” Iowa Utils. Bd. v.

FCC, 109 F.3d 418, 426 (8th Cir. 1996); see Basicomputer Corp. v. Scott,

973 F.2d 507, 512 (6th Cir. 1992) (“competitive injury and loss of customer

goodwill” are irreparable injuries); see also Labrador v. Poe, 144 S. Ct. 921,

929 (2024) (Kavanaugh, J., concurring) (company forced to “alter” its “policies”

or “restructure [its] operations” suffers irreparable harm). Again, smaller

ISPs will suffer most acutely, as they will need to divert scarce resources that



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would otherwise go toward growing their businesses. See Luthman Decl. ¶ 11,

App. 1626-1627 (Order will “likely prevent Imagine [ISP] from deploying at

least one mile of fiber [per] year”); Stooke Decl. ¶ 19, App. 1672-1673; Gleason

Decl. ¶¶ 3, 6, App. 591-593.

            3.    Petitioners’ members will face increased capital costs.

      The Order will inflict yet more harm on ISPs by raising their capital

costs. See Becerra, 87 F.4th at 782-783; Biden, 57 F.4th at 556. As in 2015, the

“pervasive” rules already adopted by the Order send the “direct message that

investment returns risk being cutoff.” Israel Decl. ¶¶ 17-19, App. 937-939; see

Stooke Decl. ¶ 6, App. 1667 (“Wisper [ISP] could not access nearly as much

private capital” after the 2015 Order). And the prospect of further “regulatory

creep”—that at any time the Commission will un-forbear from certain

authorities—“increase[s] the risks associated with investment,” which in turn

“increases the cost of capital.” Israel Decl. ¶ 18, App. 938; see Sjoberg Decl.

¶ 12, App. 612; Stooke Decl. ¶¶ 13, 18, App. 1670-1672.

            4.    Petitioners’ members will            be      disadvantaged   in
                  interconnection negotiations.

      Finally, the Order will harm ISPs’ ability “to effectively negotiate”

Internet interconnection agreements. Iowa Utils., 109 F.3d at 425. Such

agreements govern the terms on which networks share traffic. See Order


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¶¶ 576-579. The Order requires ISPs—and only ISPs—to refrain from “unjust

or unreasonable practices” in negotiating interconnection with other entities

that send them traffic. Id. ¶ 577. Counterparties, including major content

providers, are likely to “leverage this asymmetric regulatory regime to obtain

preferential terms.” Morris Decl. ¶ 19, App. 1638. The proof is once more in

the pudding: ISPs received demands to renegotiate existing interconnection

agreements immediately after the 2015 Order went into effect. Id. ¶ 20.

      B.    The Public Interest Supports A Stay.

      As an initial matter, the public interest weighs in favor of a stay because

“the public’s true interest lies in the correct application of the law.” Kentucky

v. Biden, 23 F.4th 585, 612 (6th Cir. 2022).

      In any event, a stay would also promote the public interest by ensuring

that ISPs continue to invest in network improvement and innovative offerings

that benefit consumers.      Under the Commission’s light-touch approach,

investment and innovation flourished.          See Israel White Paper, App.

1576-1582. That is no coincidence. ISPs large and small relied on that

framework to build and improve their networks and develop new technologies,

such as 5G. Their investment means greater access, faster speeds, and lower

costs for consumers. See AT&T Comments, App. 626-629; Verizon Comments,



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App. 1215-1218; WISPA Comments, App. 1252. It also helps make the Nation

a leader in global innovation, including on 6G mobile services. Power Decl.

¶ 18, App. 1658. Title II classification threatens all of that. See Ford Paper,

App. 800.

      By contrast, the public would suffer minimal harm from putting the

Order on hold. Six years ago, opponents of reversing the 2015 Order warned

that ISPs would “block websites, throttle services, and censor online content.”

RIF Order, 33 FCC Rcd. at 846-847 (Rosenworcel Dissent). Others claimed

that broadband prices would increase and paid prioritization would become

mainstream. James K. Willcox, How You’ll Know Net Neutrality Is Really

Gone, Consumer Reports (June 11, 2018), https://www.consumerreports.org/

net-neutrality/end-of-net-neutrality-what-to-watch-for/.

      But the sky did not fall. Since 2018, broadband prices have held steady

or fallen while speeds have increased.        And over the same period, the

Commission cannot point to a single clear example of the kind of manipulation

many feared would become commonplace. See supra, p. 7. Simply put, ISPs

do not block, throttle, or discriminate among lawful content. See, e.g., NCTA

Comments, App. 878; USTelecom Comments, App. 1110; ACA Connects

Comments, App. 537-538 & nn.29-31; WISPA Comments, App. 1275. Nor does



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the existing legal regime pose any substantial threat to data security or

consumer privacy. See NCTA Comments, App. 899-905. Indeed, even the

Order’s defenders now admit that it mostly addresses a problem that does not

exist. See Gomez Statement, App. 511.

III.   IN THE ALTERNATIVE, THE COURT SHOULD EXPEDITE
       BRIEFING AND ARGUMENT.

       If the Court does not grant a stay, it should expedite briefing and

argument.     The Court may expedite a case for “good cause.” 28 U.S.C.

§ 1657(a); 6th Cir. R. 27(f); see, e.g., Tennessee v. Becerra, No. 24-5220 (6th Cir.

Mar. 18, 2024), ECF No. 12. Expedition would reduce the irreparable harm

the Order will inflict on petitioners.

       Petitioners propose the following briefing schedule: petitioners will file

opening briefs by September 5, 45 days from the close of the period for filing

petitions for review; respondents will file 45 days later; and petitioners will file

reply briefs 30 days later. Briefs of amici or intervenors will be due one week

after the corresponding merits brief. Petitioners also request that the Court

grant oral argument at the first available sitting after briefing is complete.




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                               CONCLUSION

      The Court should stay the Order, or at least expedite briefing and

argument. If the Court does not rule by July 15, petitioners request an

administrative stay pending disposition of this motion.

                                           Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE

     This motion complies with Federal Rule of Appellate Procedure 27(d)

because it contains 5,192 words.

     This brief also complies with the requirements of Federal Rules of

Appellate Procedure 27(d) and 32(a) because it was prepared in 14-point font

using a proportionally spaced typeface.

                                          s/ Jeffrey B. Wall
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                      CERTIFICATE OF SERVICE

     I hereby certify that on June 10, 2024, I electronically filed the foregoing

motion with the Clerk of Court for the U.S. Court of Appeals for the Sixth

Circuit using the CM/ECF system. I certify that all participants in the case

are registered CM/ECF users and that service will be accomplished by the

CM/ECF system.


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JUNE 10, 2024
